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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                       Case No. 1:23-cr-00005 (APM)
                           )
ERIC CHRISTIE,             )
                           )
                Defendant. )

      UNOPPOSED DEFENDANT'S MOTION FOR VIDEO TELECONFERENCE
                  PROCEEDINGS IN MAY AND JUNE 2023

     Comes now the Defendant, ERIC CHRISTIE, by and through undersigned counsel, and

respectfully moves this court to change the May 8, 2023 and June 8, 2023 in-person proceedings

listed in the ECF No. 26 Trial Order to instead be held via video teleconference; and Mr. Christie

supports his request as follows:


       The government consents to this motion related to ECF No. 26 which states that:

"9. Counsel shall appear on May 8, 2023, at 11:00 a.m., in Courtroom 10 for a hearing on Rule 12

pretrial motions, if necessary" and "10. Counsel shall appear on June 8, 2023, at 3:00 p.m., in

Courtroom 10 for a Pretrial Conference."

       To the best of Mr. Christie's and the undersigned counsel's knowledge, the CARES Act has

not been rescinded. The Court's Standing Order 22-64 (BAH) has not been revoked and the

conditions in paragraph (b)(ii) for its expiration have not been met. The Order allows for

proceedings via video teleconferencing (VTC). Judges continue to schedule VTC proceedings as

agreed to by the defendants, especially given that many attorneys and defendants are not located

in the District of Columbia. Pretrial conferences and motion hearings have to date been allowed to

use VTC.
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       In addition to the continuing Covid-19 concerns and spikes, and reducing courthouse

traffic, the above request seeks to mitigate related uncertainty given that air travel from outside the

District remains tenuous due to airline cancellations and delays that have occurred year round with

no warning. Further, without disclosing significant personal medical information, undersigned

counsel is immunocompromised, and has an unresolved family health issue at home. As such,

counsel limits travel outside her immediate area to a short driving distance, and only that which is

required. Given the trial start date of June 15, 2023, counsel in coordination with Mr. Christie,

requests the Court's support in allowing VTC's instead of in-person proceedings on May 8th

and June 8th, 2023.

       If the VTC's are allowed, Mr. Christie requests that coordination be conducted for his

appearance to be by VTC from the Washington, D.C. detention facility (DOC - CTF).

       WHEREFORE, Mr. Christie requests that for good cause the Court issue the proposed

order to change the May 8, 2023 and June 8, 2023 scheduled proceedings from in-person to video

teleconferences.




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Dated March 27, 2023                       Respectfully submitted,

                                           /s/ Carolyn A. Stewart
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                               CERTIFICATE OF SERVICE

       I hereby certify on 27th day of March 2023, a copy of the foregoing was served upon all

parties as forwarded through the Electronic Case Filing (ECF) System.

                                    /s/ Carolyn Stewart Esq.
                                    Carolyn Stewart, Esq.




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